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                IN THE UNITED      STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION


UNITED STATES      OF AMERICA              *


       v.                                  *                l:10-CR-324
                                           *


SHANTAY M.      THOMAS                     *
                                           *




                                      ORDER




       On March 1, 2011,         Shantay M. Thomas           ("Thomas")      pled guilty

to    conspiracy      and   aggravated         identify   theft.        (Doc.   70.)      On

June 17,      2011,    this Court sentenced Thomas to                  seventy-six      (76)

months imprisonment.             (Doc.    85.)     Now before the Court are two

fill-in-the-blank           filings    that     Thomas    has     styled as     a   "Motion

for       Reconsideration         18       U.S.C.         3742(e)       Post-Sentencing

Rehabilitation Programming77              (Doc.    134)     and   "Defendant's Motion

to Change Method By Which Balance of Sentence Is Served771 (Doc.

135) .

         In the   "Motion for Reconsideration,77                Thomas asks     the    Court

to "grant a reduction of sentence77 based on her post-conviction

rehabilitative         efforts     -     namely,     that       "she   has    received        7

certificates, totaling 1582 hours.77                 (Doc. 134 at 1, 2.)              Before

reaching the merits of Thomas's "Motion for Reconsideration,77



1        Thomas filed an identical fill-in-the-blank motion on January 24,             2013
(Doc. 124), which this Court denied (Doc. 129).
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this    Court      must     first   determine       whether    it     has     the       power    to

reconsider her sentence.


        The general rule is that "[a] district court may not modify

a term of        imprisonment once          it has been imposed,                 except where

expressly permitted by Federal Rule of Criminal Procedure 35 or

by 18 U.S.C.          § 3582, and a district court lacks                *inherent power'

to resentence a defendant."                 United States v.          Barsena-Brito,            374

F.   App'x    951,      951      (11th   Cir.     2010)    (citing     United          States    v.

Diaz-Clark,        292 F.3d 1310,         1315    (11th Cir.    2002)).               Therefore,

this     Court     must     analyze      whether     either    Rule     35       or    18 U.S.C.

§ 3582 are applicable to the facts of this case.

        Under Rule 35(a),           a district court may "correct a sentence

that     resulted         from    arithmetical,          technical,     or         other    clear

error'' within fourteen days after sentencing.                              Fed.      R. Crim. P.

35(a).       The      Court   sentenced Thomas            on June     17,    2011,       and    she

filed the present motions on August 14,                       2015.         This time frame

clearly      falls      outside     the    fourteen-day       window,         and      therefore

this Court does not have the power to review the sentence under

Rule    35(a).         Under Rule        35(b),    the    government        may move       for a

reduction        of     a     defendant's         sentence    based         on      substantial

assistance provided by the defendant.                         Fed. R.       Crim. P.       35(b).

However, no such motion has been filed by the government in this

case.
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       The only additional                  authorization for a                district         court     to

modify a sentence is upon:                       (1) a motion by the Bureau of Prisons

based    on    extraordinary           circumstances              or    in   cases        involving      an

elderly       prisoner;          or        (2)     a    retroactive            amendment          to     the

guidelines         that   lowers       the        sentencing        range      of    the     defendant.

18 U.S.C.          § 3582(c).          These requirements                 are not         satisfied in

the   present        action.          The        Bureau    of     Prisons      has     not      moved     to

reduce    Thomas's          term      of         imprisonment          based    on     extraordinary

circumstances or age.                  Moreover,           there is no applicable change

in the sentencing guidelines that has reduced Thomas's guideline

range.        As    such,    the      Court        does     not    have      the    power under           18

U.S.C.    §   3582(c)       to    review          Thomas's        sentence.          The    Court      thus

DENIES Thomas's "Motion for Reconsideration."                                  (Doc.      134.)

        In the "Motion to Change Method," Thomas requests that the

Court "grant her motion to serve the remainder of her sentence

on home confinement or in a halfway house-like facility."                                              (Doc.

135 at 3.)           To pursue such relief,                     Thomas must file a petition

for writ of habeas corpus under 28 U.S.C. § 2241.                                      See Antonelli

v.    Warden,       U.S.P.       Atlanta,           542     F.3d       1348,       1352    (11th       Cir.

2008) (" [C]hallenges to the execution of a sentence, rather than

the validity of the sentence itself, are properly brought under

§    2241.");       Vene ziano        v.    Grayer,        No.     1:07-CV-2047           TW,     2008    WL

542638,       at    *2    (N.D.       Ga.        Feb.     22,     2008)      ("An aspect          of     the
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execution of a        federal prisoner's        sentence    is    the BOP's      choice

of his place of confinement.") (citations omitted).

        Even if the Court liberally construes Thomas's motion as a

§ 2241 petition,       her claim still would be dismissed for a lack

of jurisdiction because she did not file                   it in the district in

which she     is   incarcerated —      the United States District          Court     for


the   Middle     District    of   Florida.      See   United     States   v.    Pruitt,

417 F. App'x 903, 904 (11th Cir. 2011)                  ("A petition for writ of

habeas    corpus     pursuant     to   § 2241     may be    brought      only   in   the

district      court    for    the      district    in    which     the    inmate      is

incarcerated.")       (citation and internal quotation marks omitted).

The   Court      thus also DENIES      Thomas's    "Motion to Change Method."

(Doc.    135.)

        ORDER ENTERED at Augusta, Georgia this                 /ffi^-day of August,
2015.




                                                                           HALL
                                                UNITED/STATES DISTRICT JUDGE
                                                        SRN DISTRICT OF GEORGIA
